 Case 2:90-cv-00520-KJM-SCR                Document 7995   Filed 10/03/23   Page 1 of 9


 1     DONALD SPECTER – 083925                        MICHAEL W. BIEN – 096891
       STEVEN FAMA – 099641                           ERNEST GALVAN – 196065
 2     MARGOT MENDELSON – 268583                      LISA ELLS – 243657
       PRISON LAW OFFICE                              JENNY S. YELIN – 273601
 3     1917 Fifth Street                              THOMAS NOLAN – 169692
       Berkeley, California 94710-1916                MICHAEL S. NUNEZ – 280535
 4     Telephone: (510) 280-2621                      AMY XU – 330707
                                                      CARA E. TRAPANI – 313411
 5     CLAUDIA CENTER – 158255                        MARC J. SHINN-KRANTZ – 312968
       DISABILITY RIGHTS EDUCATION                    ALEXANDER GOURSE – 321631
 6     AND DEFENSE FUND, INC.                         GINGER JACKSON-GLEICH – 324454
       Ed Roberts Campus                              ADRIENNE PON HARROLD – 326640
 7     3075 Adeline Street, Suite 210                 MAYA CAMPBELL – 345180
       Berkeley, California 94703-2578                ROSEN BIEN
 8     Telephone: (510) 644-2555                      GALVAN & GRUNFELD LLP
                                                      101 Mission Street, Sixth Floor
 9                                                    San Francisco, California 94105-1738
                                                      Telephone: (415) 433-6830
10 Attorneys for Plaintiffs
11
12                                    UNITED STATES DISTRICT COURT
13                                    EASTERN DISTRICT OF CALIFORNIA
14
15 RALPH COLEMAN, et al.,                             Case No. 2:90-CV-00520-KJM-DB
16                      Plaintiffs,                   PLAINTIFFS’ RESPONSE TO
                                                      DEFENDANTS’ OBJECTIONS TO
17                 v.                                 THE SPECIAL MASTER’S
                                                      RESPONSE TO THE MAY 24, 2023
18 GAVIN NEWSOM, et al.,                              ORDER
19                      Defendants.                   Judge: Hon. Kimberly J. Mueller
20
21
22
23
24
25
26
27
28
     [4367669.2]

       PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTIONS TO THE SPECIAL MASTER’S RESPONSE TO
                                     THE MAY 24, 2023 ORDER
 Case 2:90-cv-00520-KJM-SCR                  Document 7995       Filed 10/03/23    Page 2 of 9


 1                                              INTRODUCTION
 2                 On March 9, 2023, the Special Master filed a Report and Recommendations
 3 Regarding Third Level Data Remediation Disputes, in which he addressed, inter alia, the
 4 parties’ dispute regarding the provisionally approved key indicator entitled Transfer to
 5 STRH [Short Term Restricted Housing]/LTRH [Long Term Restricted Housing] within
 6 Timeframes (AC6). See ECF No. 7755 at 16. The dispute revolved around how to assess
 7 compliance with STRH/LTRH transfer timelines where a patient at the Correctional
 8 Clinical Case Management System (CCCMS) level of care remains in a non-mental health
 9 segregation unit for more than 30 days because of a temporary medical hold. Id.
10 Defendants filed objections, and Plaintiffs, with leave of Court, filed a response. See ECF
11 Nos. 7805 & 7825, respectively. On May 24, 2023, the Court issued an order referring the
12 parties’ dispute back to the Special Master for further consideration. ECF No. 7847 at 12.
13 On August 8, 2023, the Special Master filed a response to the Court’s May 24, 2023 Order,
14 recommending that “[t]he medical hold exception in the existing indicator’s documentation
15 should be removed. All transfers to STRH and LTRH units that exceed 30 days should be
16 scored as not satisfying the 30-day transfer business requirement.” ECF No. 7907 at 15.
17 On September 7, 2023, Defendants filed objections. ECF No. 7939. Plaintiffs requested,
18 and the Court granted, leave to respond to Defendants’ objections by October 3, 2023.
19 Sept. 27, 2023 Minute Order, ECF No. 7973.
20                 The purpose of this response is to alert the Court to a remedial policy relevant to the
21 pending dispute—a September 22, 2016 Memorandum entitled “Reasons for Retaining
22 Inmates in Segregation, Removing Medical Hold from COMPSTAT,” which is
23 incorporated into the 2021 Compendium of Custody-Related Remedial Requirements and
24 provides “that inmates shall not be housed or retained in segregated housing due to a
25 medical hold ….” See ECF No. 7333-2 at 5 & Ex. A, hereto. 1 The September 2016
26
27
28
     1
         A copy of the September 22, 2016 Memorandum is attached hereto as Exhibit A.
     [4367669.2]
                                                1
         PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTIONS TO THE SPECIAL MASTER’S RESPONSE TO
                                       THE MAY 24, 2023 ORDER
  Case 2:90-cv-00520-KJM-SCR         Document 7995       Filed 10/03/23    Page 3 of 9


 1 Memorandum was not considered by the Special Master or the parties during the data
 2 dispute resolution process. As set forth below, this remedial policy bolsters the Special
 3 Master’s conclusion that “the March 3, 2016 Memorandum [entitled ‘Transfer of
 4 Correctional Clinical Case Management System Inmate-Patients to Male Short Term
 5 Restricted Housing Units,’ see 2021 Program Guide, ECF No. 7333-1 at 456-58] is
 6 insufficient to create an exception to the rule that all STRH/LTRH patients (male and
 7 female) transfer within 30 days.” ECF No. 7907 at 8-9. The Court should adopt the
 8 Special Master’s recommendation as to the Transfer to STRH/LTRH within Timeframes
 9 (AC6) indicator. See id. at 15.
10 I.      STANDARD OF REVIEW
11         The Special Master’s August 8, 2023 Response to the Court’s May 24 Order
12 includes findings regarding the data remediation process to support his recommendations
13 regarding the outcome of the Transfer to STRH/LTRH within Timeframes (AC6) indicator
14 dispute now before the Court, and is therefore a compliance report within the meaning of
15 the Order of Reference. Cf. Mar. 27, 2020 Order, ECF No. 6539 at 3; Order of Reference,
16 ECF No. 640 at 4. The Order of Reference provides that “the court shall accept the special
17 master’s findings of fact unless they are clearly erroneous.” Id. at 8. A finding is “clearly
18 erroneous if, on review of the entire evidence, the reviewing court arrives at the firm
19 conviction that the finding is mistaken.” In re U.S.A. Motel Corp., 450 F.2d 499, 503 (9th
20 Cir. 1971); see also McCormack v. Hiedeman, 694 F.3d 1004, 1019 (9th Cir. 2012) (“To
21 be clearly erroneous, a decision must strike the court as more than just maybe or probably
22 wrong; it must … strike [the court] as wrong with the force of a five-week-old,
23 unrefrigerated dead fish.” (internal citations and quotation marks omitted)). The objecting
24 party has the burden of proving clear error. See Oil, Chemical & Atomic Workers Int’l
25 Union v. N.L.R.B., 547 F.2d 575, 580 (D.C. Cir. 1976).
26         Moreover, this Court has held that the provisionally approved key indicators should
27 “replicate[] the corresponding information captured by the Special Master in his
28 monitoring reports,” and that “any disputes over [his] decisions will be reversed by the
   [4367669.2]
                                                2
     PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTIONS TO THE SPECIAL MASTER’S RESPONSE TO
                                   THE MAY 24, 2023 ORDER
  Case 2:90-cv-00520-KJM-SCR         Document 7995      Filed 10/03/23    Page 4 of 9


 1 court only if the decisions are clearly erroneous.” See May 24, 2023 Order, ECF No. 7847
 2 at 8-9. Defendants’ Objections do not acknowledge this holding, nor include a
 3 certification that Defendants’ counsel reviewed the entirety of the May 24, 2023 Order in
 4 preparation of their filing. See generally ECF No. 7939.
 5 II.     THE SPECIAL MASTER’S FINDINGS ARE NOT CLEARLY
           ERRONEOUS, ESPECIALLY IN LIGHT OF THE SEPTEMBER 2016
 6         MEMORANDUM
 7         On September 21, 2023, while drafting comments on Defendants’ draft EOP and
 8 CCCMS Restricted Housing Unit (“RHU”) policies, Plaintiffs located a short, one-page
 9 remedial policy in the Compendium of Custody-Related Remedial Requirements entitled
10 “Reasons for Retaining Inmates in Segregation, Removing Medical Hold from
11 COMPSTAT,” dated September 22, 2016. See ECF No. 7333-2 at 5; see also Decl. of
12 Cara E. Trapani In Support of Pls. Resp. to Defs.’ Objections (“Trapani Decl.), filed
13 herewith, ¶ 2. Plaintiffs alerted Defendants and the Special Master to the existence of this
14 memorandum on September 21, 2023, as neither the parties, nor the Special Master, appear
15 to have considered it in prior stages of the dispute resolution process. Id. Defendants
16 responded to Plaintiffs’ notice later that same day and argued that the memorandum is not
17 relevant. Id. ¶ 3. Plaintiffs disagree.
18         The operative portion of the September 2016 Memorandum provides:
19         The purpose of this memorandum is to reiterate that inmates shall not be
           housed or retained in segregated housing due to a medical hold or pending
20         Department of State Hospital Placement. Reasons for placement in
           segregated housing are detailed in California Code of Regulations, Title 15,
21         Section 3335, Administrative Segregation.
22 Exhibit A at 1. This prohibition on retaining incarcerated people is segregation due
23 solely to a medical hold is highly relevant to the instant dispute. While the
24 September 2016 Memorandum does not ban retention of an incarcerated person in
25 segregation who has both a medical hold and a valid retention reason in accordance with
26 Title 15, this remedial policy recognizes the danger of segregation to incarcerated
27 people’s well-being—particularly those with a mental illness. This risk of harm
28 contributed to CDCR developing, and the Court adopting as part of the Program Guide, a
   [4367669.2]
                                            3
     PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTIONS TO THE SPECIAL MASTER’S RESPONSE TO
                                   THE MAY 24, 2023 ORDER
  Case 2:90-cv-00520-KJM-SCR          Document 7995       Filed 10/03/23    Page 5 of 9


 1 short 30-day transfer timeframe for CCCMS class members to move from non-mental
 2 health segregation units to the more protective STRH and LTRH units, which are
 3 required to offer enhanced mental health treatment and out of cell activities to CCCMS
 4 patients. See 2021 Program Guide, ECF No. 7333-1 at 450-54.
 5         The September 2016 Memorandum is not limited to a particular housing unit, and
 6 post-dates CDCR’s creation of the STRH and LTRH units in 2015 (see id. at 450).
 7 Accordingly, CCCMS patients waiting to move to the correct segregation setting are
 8 covered by this policy. Nor is the September 2016 Memorandum limited to a particular
 9 level of mental health care, unlike the March 2016 Memorandum, which only applies to
10 male STRH units, as Defendants concede. See ECF No. 7939 at 6 (“[T]he Special Master
11 notes, correctly, that the 2016 policy on its face applies only to male and STRH transfers,
12 and not to female or LTRH transfers.”). Accordingly, the memorandum’s policy against
13 retaining patients in segregation solely due to medical holds lends support to the Special
14 Master’s interpretation of the Program Guide that there are no allowable exceptions to the
15 30-day STRH/LTRH transfer timelines. See ECF No. 7907 at 8-9.
16         Both the Special Master’s conclusion and the September 2016 Memorandum align
17 with this Court’s finding, after trial, in 2014 that “placement of seriously mentally ill
18 inmates in California’s segregated housing units can and does cause serious psychological
19 harm, including decompensation, exacerbation of mental illness, inducement of psychosis,
20 and increased risk of suicide.” Apr. 10, 2014 Order, ECF No. 5131 at 45-46. These
21 concerns are as urgent now as they were nine years ago. Of the 22 incarcerated people
22 who, to date, have died by suicide in CDCR in 2023 alone, five suicides (23%) occurred in
23 segregated housing, and seven people (32%) were at the CCCMS level of care when they
24 died. See Trapani Decl. ¶ 5. While Defendants cite a lengthy policy defining medical
25 holds in their Objections, they fail to mention that the definition of “Temporary Medical
26 Hold” that Defendants developed for the purpose of data remediation is very broad, can
27 last for up to six months, and covers non-urgent medical care with no attempt to balance a
28 patient’s mental health needs. See ECF No. 7755-1 at 10. Allowing CCCMS patients to
   [4367669.2]
                                              4
     PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTIONS TO THE SPECIAL MASTER’S RESPONSE TO
                                   THE MAY 24, 2023 ORDER
  Case 2:90-cv-00520-KJM-SCR          Document 7995      Filed 10/03/23    Page 6 of 9


 1 remain in a non-mental health segregation setting for months on end with no mental health
 2 care for broadly defined medical reasons should not be scored as “compliant” under this
 3 indicator. Defendants have not established that the Special Master’s recommendation
 4 reaching the same conclusion is clearly erroneous. As such, this Court should adopt it. 2
 5                                        CONCLUSION
 6            For all the foregoing reasons, the September 22, 2016 Memorandum entitled
 7 “Reasons for Retaining Inmates in Segregation, Removing Medical Hold from
 8 COMPSTAT,” which is included in the Compendium of Custody-Related Remedial
 9 Requirements, see ECF No. 7333-2 at 5, supports the Special Master’s findings and
10 recommendations regarding the AC6 indicator and establishes that they are not clearly
11 erroneous. Accordingly, the Court should adopt the Special Master’s recommendation that
12 that “[t]he medical hold exception in the existing indicator’s documentation should be
13 removed” and “[a]ll transfers to STRH and LTRH units that exceed 30 days should be
14 scored as not satisfying the 30-day transfer business requirement.” ECF No. 7907 at 15.
15 / / /
16 / / /
17 / / /
18 / / /
19 / / /
20 / / /
21 / / /
22 / / /
23 / / /
24
25   2
      If the Court declines to adopt the Special Master’s recommendation (it should not),
26 Plaintiffs  respectfully request that the Court adopt Defendants’ proposals from earlier this
   year to set up automated alerts to clinicians whenever a CCCMS patient remains in a non-
27 mental health segregation setting for more than 30 days due to a medical hold, and to
   create an unusual events flag that identifies when medical holds occur. See ECF No. 7805
28 at   6-7.
   [4367669.2]
                                                    5
         PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTIONS TO THE SPECIAL MASTER’S RESPONSE TO
                                       THE MAY 24, 2023 ORDER
 Case 2:90-cv-00520-KJM-SCR                 Document 7995       Filed 10/03/23    Page 7 of 9


1                                              CERTIFICATION
2                  The undersigned counsel for Plaintiffs certifies that she reviewed the following
3 orders relevant to this filing: ECF Nos. 640, 5131, 6539, 7847, 7973.
4 DATED: October 3, 2023                           Respectfully submitted,
5                                                  ROSEN BIEN GALVAN & GRUNFELD LLP
6
7                                                  By: /s/ Cara E. Trapani
8                                                      Cara E. Trapani

9                                                  Attorneys for Plaintiffs
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     [4367669.2]
                                                         6
       PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTIONS TO THE SPECIAL MASTER’S RESPONSE TO
                                     THE MAY 24, 2023 ORDER
Case 2:90-cv-00520-KJM-SCR   Document 7995   Filed 10/03/23   Page 8 of 9




                      Exhibit A
                    Case 2:90-cv-00520-KJM-SCR         Document 7995      Filed 10/03/23       Page 9 of 9
State of California                                                          Department of Corrections and Rehabilitation



Memorandum
Da~              September 22, 2016

To               Associate Directors, Division of Adult Institutions
                 Wardens
                 Chief Executive Officers
                 Classification & Parole Representatives



Subject:         REASONS FOR RETAINING INMATES IN SEGREGATED HOUSING

                 The purpose of this memorandum is to reiterate that inmates shall not be housed or
                 retained in segregated housing due to a medical hold or pending Department of State
                 Hospital placement. Reasons for placement in segregated housing are detailed in
                 California Code of Regulations, Title 15, Division 3, Section 3335, Administrative
                 Segregation.

                 The COMPSTAT Administrative Segregation Unit (ASU) tracking system has been
                 modified by removing "Medical Hold" as an option for retaining inmates in segregated
                 housing.

                 If you have any questions relative to COMP STAT ASU, please contact
                 Angella Debusk, Correctional Counselor Ill, Classification Services Unit, at
                 (916) 445-0373 or Angella.DeBusk@cdcr.ca.gov. For questions regarding medical
                 holds, please contact Jay Powell, Captain, Health Care Population Management Unit,
                 at (916) 691-0336 or Jay.Powell@cdcr.ca.gov.



                 /~
             ~      THLEEN ALLISON
                 Director                                    Director
                 Division of Adult Institutions              Corrections Service
                                                             California Correctio al Health Care Services


                 cc: Connie Gipson
                     Jeff Macomber
                     Katherine T ebrock
                     Joseph Williams
                     Jay Powell
                     Angella Debusk
                     Regional Health Care Executives
                     Regional Mental Health Administrators


• CDC 1617 (3189)
